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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                 )
    In re:                                                       )     Chapter 7
                                                                 )
    EVERGREEN INTERNATIONAL AVIATION,                            )     Case No. 13-13364 (MFW)
    INC., et al.,1                                               )
                                                                 )     (Jointly Administered)
                            Debtors.                             )
                                                                 )

                          NOTICE OF WITHDRAWAL OF APPEARANCE

             PLEASE TAKE NOTICE that Polsinelli PC and Justin K. Edelson, formerly of Polsinelli

PC, hereby withdraw their appearance on behalf of World Fuel Services, Inc. and request removal

from all service lists.

Dated: July 26, 2022                                          POLSINELLI PC

                                                              /s/ Brenna A. Dolphin
                                                              Christopher A. Ward (No. 3877)
                                                              Brenna A. Dolphin (No. 5604)
                                                              222 Delaware Avenue, Suite 1101
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                                                              cward@polsinelli.com
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  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Evergreen
International Aviation, Inc. (9079); Evergreen Aviation Ground Logistics Enterprise, Inc. (6736); Evergreen Defense
& Security Services, Inc. (0118); Evergreen International Airlines, Inc. (7870); Evergreen Systems Logistics, Inc.
(0610); Evergreen Trade, Inc. (0952); and Supertanker Services, Inc. (3389).



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